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)
Plain¢iff(s), ) 1 : 1 0-cv-02_953
) Judge Matthew F. Kennel|y
._._,_,,_ _ _ vF_'____ § Magistrate Judge Morton Denlow
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COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGI-ITS

Tkis form complaint is~ designed to help yon, as a pro se plainn]}°; state your case in a clear
manner. Please read the directions and the numbered paragraphs carefidly. Some paragraphs
may not apply to yon. Yon may cross out paragraphs that do not apply to yon. AI! references
to ‘j)laintt’jj"’ and “defendant” are stated in thef'sfngnlar but will apply to more than one
plainti)j" or defendant tfthat is the nature of the case.

1. This is a claim for violation of plaintist civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.
2. The'court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaintiffsinlnmeisw\o%w\ 9mm- CL\O:\:\5

Ifthere are additionat plaintiffs jill in the above information as to the first-named plaintiff
and complete the information for each additional plaintij" on an extra sheet.

 

 

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' 4. Defendant, UJ\\\'\<.LN\ \_L')DO_DA i-l»- B\i _'J”i ,is

. 3 (name, badge number if known]

\§ an officer or ofEcial employed by 0 00 L C©Qf\l-q Xi`§(`: "i`")[`;

 

(deparnnent cr agency ofé)vemment)

 

or
El an individual not employed by a governmental entity.
lf there are additional defendants, fdl in the above information as to the Frst-nan¢ed
defendant and complete the information for each additional defendant on an extra sheet
5. The municipality, township or county under whose authority defendant officer or official

acted is ('A)o[l(. CQL¢ rl-h,l/ H/LQ mg . As to plaintiffs federal

constitutional clailns, the municipality, township or county is a defendant only if
custom or policy allegations are made at paragraph 'l below.
6. On or aboutM(l(_»[ gap 300 @) , at approximately l f '- 3 9 H a.m. I:l p.m.
(niontb,day, year) 1 l
plaintiff was present in the municipality (or unincorporated area) of C?’l l C QQQ
, in the County of OODK_ ,
we ofminois, ar 013/wit 6a l n af Coo/< C<)om+af , alton t Cr[¢‘£m)f a

{identify location as precisely as possible)

 

When defendant violated plaintist civil rights as follows (PlaceX in each box that

applies):

E| arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, Was committing or was about to commit a crime;

|:| searched plaintiff or his property without a Warrant and without reasonable cause;

F£ used excessive force upon plaintiff;

El failed to intervene to protect plaintiff from violation of plaintiffs civil rights by

one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff s civil rights;
Other:

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7. Defendant officer or official acted pursuant to a custom or policy of defendant
municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged):

 

 

 

 

8. Plaintiffwas charged with one or more crimes, specifically: '
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+N\t :=. ..r\ ~ m eeo &Q ir€r\»Qc.\ /\ 'i`

 

 

 

9. (Place an X in the box that applies. If none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

§ are still pending.
|j were terminated in favor of plaintiff in a manner indicating plaintiff was innocent1

C| Plaintifi` was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

ij Other:

 

 

1Ertarnples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal {SOL) by the prosecutor, or a nolle prosequi order.

3

 

 

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10. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant ) '

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11. ndfeddddt acted knowingly incentidnany, winadly add 111111111111111131.
12. As a 1d1d11111"ddrd11d1111rs conduct plaintiff was idjmed 111 follows
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14. Plaintiff asks that the case be tried by a jury. §Yes l:| No

 

 

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CERTIFICATE
(Incarcerated applicants only)
(To he completed by the msl tution of incarceration)
l certify that the applicant named herein, , I.D.# - , has the sum of $
on account to his/her credit at (naine of institution) . I further certify
that the applicant has the following securities to his/her credit: . . I further certify that during the past
six months the applicant’s average monthly deposit was $ . {Add all deposits from all sources and

then divide by number of months).

 

 

Date Signature of Authorized Officer

 

[t'rmt Name)

 

 

 

 

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1_5. Plaintiif also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,
and/or any other claim that may be supported by the allegations of this complaint
WI'IEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of incomc, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. ER(PlaceX in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.
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Plaintifi`s name @rint clearly or t_We): m u(dir\u_ Q lot .._,.,

Plaintiff’s mailing address: O\ ;l\‘\ ii \\) ©°~\/ ic §:.\,Q_Q\ j A ~J § FSF-_D~ CiOQ»'-

City CD'\\( C,\C,\ID State \,2 ZIP hoh § 7

Plaintiff’s telephone number: (-:I*_-B (¢\ l § ` g g 3e1 .

Plaintiff’s email address (if you prefer to be contacted by email):

 

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Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff An additional signature page may be added

 

 

